                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION
                                 NO. 5:19-cv-00319

 ANTHONY THOMPSON,

                Plaintiff,

 v.

 BALFOUR BEATTY INFRASTRUCTURE,
 INC.; BALFOUR BEATTY                                NOTICE OF APPEARANCE
 CONSTRUCTION, LLC; BALFOUR
 BEATTY EQUIPMENT, LLC; BALFOUR
 ENTERPRISES, INC.; BRANDSAFWAY
 SERVICES, LLC; SAFWAY GROUP
 HOLDINGS, LLC; BRANDSAFWAY, LLC;
 BRANDSAFWAY INDUSTRIES, LLC;
 BRANDSAFWAY SOLUTIONS, LLC;
 SAFWAY, LLC; THYSSENKRUPP
 SAFWAY, INC.; and SAFWAY TRANSFER
 AND STORAGE, INC.,

                Defendants.




        NOW COMES the law firm of Harris, Wiltshire & Grannis, through Amy E. Richardson,
Esq., and gives notice of its appearance in this case representing defendant Safway, LLC.
This the 31st day of July, 2019.


                                         ___/s/ Amy E. Richardson __
                                         AMY E. RICHARDSON
                                         NCSB No. 28768
                                         HARRIS, WILTSHIRE & GRANNIS LLP
                                         1033 Wade Avenue, Suite 100
                                         Raleigh, North Carolina 27625
                                         Email: arichardson@hwglaw.com

                                         Attorney for Safway, LLC




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                                CERTIFICATE OF SERVICE


        I hereby certify that I electronically filed the foregoing document with the Clerk of the
Court using the CM/ECF system, and I hereby certify that I have served the document upon the
party(ies) below, in the manner indicated for each party.

       This the 31st day of July, 2019.


                                                BY:             /s/ Amy E. Richardson

                                                      Brian O. Beverly
 Marlo Thaggard-O’Tuel                                Young Moore & Henderson, P.A.
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 BrandSafway, LLC                                     JOHN HEUER
 c/o CT Corporation System, Registered Agent          BALFOUR BEATTY
 160 Mine Lake Court, Suite 200                       1930 Camden Road, Suite 280
 Raleigh, NC 27615                                    Charlotte, NC 28203
 Served via U.S. Mail                                 jheuer@balfourbeattyus.com
                                                      Served via email



 Thyssenkrupp Safway, Inc.                            Safway Transfer and Storage, Inc.
 c/o Secretary of State Elaine Marshall, Registered   c/o Tommy Edd Johnson, Registered Agent
 Agent                                                Rt. 4, Box 34a
 2 South Salisbury Street                             Clyde, NC 28721
 Raleigh, NC 27601                                    Served via U.S. Mail
 Served via U.S. Mail

 Contaminant Control, Inc.
 c/o registered agent,
 Mark Vestal
 3434 Black and Decker Rd.
 Hope Mills, NC 28348-9331
 Served via U.S. Mail




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